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               IN THE UNITED STATES DISTRICT COURT      November 20, 2024
              FOR THE WESTERN DISTRICT OF VIRGINIA    -"63"""645*/   $-&3,
                                                                       #:
                               ROANOKE DIVISION                                 s/A. Beeson
                                                                                 %&165:$-&3,


THOMAS SHORT,                                  )
                                               )
                  Plaintiff,                   )      Case No. 7:24CV00246
                                               )
v.                                             )            OPINION
                                               )
SOUTHWEST VIRGINIA REGIONAL                    )      JUDGE JAMES P. JONES
JAIL AUTHORITY, TAZEWELL, ET                   )
AL.,                                           )
                                               )
                 Defendants.                   )
                                               )

     Thomas Short, Pro Se Plaintiff; Brian J. Brydges, JOHNSON, AYERS &
MATTHEWS PLC, Roanoke, Virginia, for Defendants.

      The plaintiff, Thomas Short, proceeding pro se, filed this civil rights action

pursuant to 42 U.S.C. § 1983, alleging that while he was incarcerated at the Patrick

County Jail, the defendant used excessive force against him in violation of his

constitutional rights. The court entered an Order conditionally filing the case and

warning Short that failure to notify the Court of a change in his mailing address

would result in dismissal of the case without prejudice.       Short then filed an

Amended Complaint that the court served on the defendants. On October 18,

2024, the court mailed Short a copy of an Order to the address he had provided.

That mailing was returned to the court marked as undeliverable, with no ability to

forward the mailing. It is self-evident that the court must have a viable address by
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which to communicate reliably with Short about this case. The court has had no

communication from Short since May 2024.

      Based on Short’s failure to provide the court with a current mailing address,

I conclude that he is no longer interested in pursuing this civil action. Therefore, I

will dismiss the action without prejudice for failure to prosecute. See Ballard v.

Carlson, 882 F.2d 93, 96 (4th Cir. 1989) (stating pro se litigants are subject to time

requirements and respect for court orders and dismissal is an appropriate sanction

for non-compliance); Donnelly v. Johns-Manville Sales Corp., 677 F.2d 339, 340-

41 (3d Cir. 1982) (recognizing a district court may sua sponte dismiss an action

pursuant to Fed. R. Civ. P. 41(b)).

      An appropriate Order will issue herewith.

                                               DATED: November 20, 2024

                                               /s/ JAMES P. JONES
                                               Senior United States District Judge




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